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     Case: 16-2642                  Document: 00712954075            Filed: 03/13/2017         Pages: 1   (1 of 3)



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                 Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                       Phone: (312) 435-5850
             Chicago, Illinois 60604                                             www.ca7.uscourts.gov




 March 13, 2017

By the Court:


                                         ROBERT HOLLAND,
                                         Plaintiff - Appellant

 No. 16-2642                             v.

                                         ROBERT DEJONG, CEO Credit One Bank, NA, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:14-cv-00326-JD-PRC
 Northern District of Indiana, Hammond Division
 District Judge Jon E. DeGuilio

On January 31, 2017, and February 21, 2017, the court ordered the appellant to show cause why
this appeal should not be dismissed for lack of prosecution based on the failure to timely file an
opening brief. Although the most recent response was due March 7, 2017, the appellant has
failed to respond or file the required opening brief. The appellant remains subject to the filing
bar entered on January 5, 2017, due to outstanding filing fees. Accordingly, IT IS ORDERED
that this appeal is DISMISSED for lack of prosecution. See Cir. R. 31(c)(2).

 form name: c7_FinalOrderWMandate(form ID: 137)
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      Case: 16-2642                 Document: 00712954076                  Filed: 03/13/2017         Pages: 2   (2 of 3)



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



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             Chicago, Illinois 60604                                                   www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 March 13, 2017


To:            Robert N. Trgovich
               UNITED STATES DISTRICT COURT
               Northern District of Indiana
               Hammond , IN 46320-0000



                                         ROBERT HOLLAND,
                                         Plaintiff - Appellant

 No. 16-2642                             v.

                                         ROBERT DEJONG, CEO Credit One Bank, NA, et al.,
                                         Defendants - Appellees

  Originating Case Information:

 District Court No: 2:14-cv-00326-JD-PRC
 Northern District of Indiana, Hammond Division
 District Judge Jon E. DeGuilio
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  TYPE OF DISMISSAL:                                             Circuit Rule 31(c)



  DATE OF RSC ORDER:                                             01/31/2017 & 02/21/2017
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   Case: 16-2642          Document: 00712954076                  Filed: 03/13/2017         Pages: 2     (3 of 3)



 STATUS OF THE RECORD:                                no record to be returned




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)
